      Case: 24-2256   Document: 11   Page: 1    Filed: 09/13/2024




                           No: 2024-2256




UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT




       LARRY GOLDEN                                   RECEIVED
             Plaintiff-Appellant
                                                      SEP 1 3 2024
             V.
                                               United States Court of Appeals
                                                   For the Federal Circuit
       The United States
             Defendant-Appellee



       ON APPEAL FROM THE UNITED STATES COURT OF

     FEDERAL CLAIMS IN GOLDEN v. THE UNITED STATES

          [DEFENSE THREAT REDUCTION AGENCY]
        IN 1:2023cv00811-EGB; JUDGE ERIC BRUGGINK




 PLAINTIFF-APPELLANT'S REPLY IN SUPPORT OF PLAINTIFF-
     APPELLANT'S MOTION FOR SUMMARY AFFIRMANCE



                                           LARRY GOLDEN
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                                           Appearing ProSe

                                           September 12, 2024
             Case: 24-2256        Document: 11         Page: 2     Filed: 09/13/2024



SINCE JUDGE BRUGGINK'S DECISION IN GOLDEN v. US CASE NO.13-307C; NINE
 FEDERAL JUDGES DETERMINED THE UNITED STATES DIRECTLY INFRINGED
  GOLDEN'S PATENTED INVENTIONS COMBINATIONS AS A "SINGLE ENTITY'
                                  UNDER 28 U.S.C.§ 1498(a)



   #of                                                                                 FUed-
             Case Number              Case Title                    Court
 Judge(s)                                                                              Closed


  Judge                                                     U.S. Court of Federal   05/01/2013 -
             l:2013cv00307          Golden v. USA
 Bruggink                                                           Claims           11/10/2021


   #of                                                                                 Filed -
             Case Number              Case Title                    Court
 Judge(s)                                                                              Closed


   Three
                                                           U.S. Court OfAppeals,     12/16/2021 -
 Appellate   2022cvpri01267 Golden v. Google LLC
                                                           Federal Circuit          09/08/2022
  Judges

    One
                               Golden v. Samsung           California Northern      01/05/2023 -
  District   3:2023cv00048
                               Electronics America, Inc.   District Court           06/08/2023
   Judge

   Three
                               Golden v. Samsung           U.S. Court Of Appeals,   07/07/2023 -
 Appellate   2023cvpri02120
                               Electronics America, Inc.   Federal Circuit          02/12/2024
  Judges

    One
                                                           Califomia Northem        09/14/2022 -
  District   3:2022cv05246     Golden v. Google LLC
                                                           District Court           04/03/2024
   Judge

    One
                                                           Califomia Northem         09/14/2022 -
  District   3:2022cv05246     Golden v. Google LLC
                                                           District Court            04/03/2024
   Judge



       Under 28 USC § 1498, the patentee's "exclusive remedy for an alleged infringement by
or for the Government, which means the Government is the 'single entity' for the purpose of
direct infringement, is a suit against the United States in the Court of Federal Claims."
       The statue serves two purposes:(i) it waives sovereign immunity to permit a patent
owner to recover damages for direct infringement "by or for the United States" as the single
entity, and (ii) it protects contractors [such as Draper Laboratory, Inc. and Google, LLC]from
liability for patent infringement committed on behalf of the United States.
              Case: 24-2256       Document: 11        Page: 3      Filed: 09/13/2024



       The courts emphasized that the remedy provided in § 1498 is the "exclusive remedy"
available when the U.S. Government, as the single entity, directly infringes a patent. A recent
trend of Federal Circuit decisions, including IRIS Corp. v. Japan Airlines Corp., 769 F.3d 1359
(Fed. Cir. 2014)and Zoltek Corp. v. United States, 672 F.3d 1309(Fed. Cir. 2012), holding that §
1498 affords government contractors a wide scope of protection against liability for
infringement.
       In the words of the Federal Circuit, there is "no justification" for "expos[ing] a significant
range of government contractors to direct liability (and possible injunctive remedies), namely,
those [that may be] accused of indirect infringement of claims [that are] directly infringed by the
government."
       On September 17, 2015,the Federal Circuit affirmed the dismissal under 28 U.S.C. §
1498(a) of a patentee's claims for indirect patent infringement against government contractors
where the only alleged directed infringement was the Government's purported use of the
patented invention. Astornet Technologies Inc. v. BAESystems, Inc., No. 14-1854(Fed. Cir. Sept.
17, 2015). The decision is another in a line of recent Federal Circuit decisions reaffirming that
government contractors enjoy broad immunity from traditional patent infringement liability
under § 1498.

The United States Court of Appeals for the Federal Circuit Judges in Golden v, Google,
LLC,Case No. 22-1267; determined Direct Infringement by or for the Government, arises
when there's a combined ATAK Software; CBRN Plugins; CPU; and Smartphone

       The Federal Circuit in Larry Golden v. Google LLC', Case No. 22-1267 examined and
determined Golden has described how the Google "smartphone", that include the ATAK
software and CBRN plugin sensors allegedly infringes at least claim 5 of Golden's '287 Patent;
claim 23 of Golden's '439 Patent; and claim 1 of Golden's '189 Patent.

The United States Court of Appeals for the Federal Circuit Judges in Golden v. Samsung
Case No.23-2120; agreed with the Northern District of California Court Judge in Golden v.
Samsung that Direct Infringement by or for the Government arises when there's a
combined ATAK Software; CBRN Plugins; CPU; and Smartphone

       In Golden v. Samsung Electronics America, Inc. Case: 23-2120, Document 28; OPINION
filed for the court by Prost, Circuit Judge; Taranto, Circuit Judge and Chen, Circuit Judge. Filed:
02/12/2024.
              Case: 24-2256         Document: 11        Page: 4     Filed: 09/13/2024



       "Mr. Golden's complaint alleged, in part, that Samsung's smartphones possess that
claimed detector/sensor functionality on three alternative bases:(1)through the "Android Team
Awareness Kit, ATAK," which is "[bjuilt on the Android operating system," involves "plug-ins"
and "app specific software," was "[i]nitially created" by the "Air Force Research Laboratory"
together with the "Defense Threat Reduction Agency," and is "available to warfighters
throughout the DoD," Appxll2 H 55; Appxl 19, 127;(2)through add-on devices or modifications
that utilize the smartphone's built-in camera, Appxl 11 ^ 54,Appxl24-25; and (3)through nine
"standard sensors" which "can be used as 'biosensors,'" Appxl26."
       "Samsung moved to dismiss Mr. Golden's complaint, arguing that, among other things,
Mr. Golden's complaint failed to plausibly state a patent-infringement claim. Appxl46-48. More
specifically, Samsung argued that Mr. Golden's complaint stated no alleged facts that went
beyond allegations that Samsung was making and selling smartphones that could be modified
post-sale by others to perform the accused detector/sensor functionality. On that basis, Samsung
said, there are no plausible allegations Samsung was engaged in directly infringing activities.
Appxl46^7."
       "The district court agreed and dismissed Mr. Golden's complaint with prejudice,
concluding, in part, that "[t]he allegations that his patents cover the identified functionalities
included in Samsung's products are wholly unsupported and implausible on their face." Golden,
2023 WL 3919466, at *2."

       "We reject Mr. Golden's appeal arguments and therefore affirm the district court's
dismissal of his complaint."

The Northern District of California Court Judge Haywood S. Gilliam, Jr. in Golden v,
Googlef LLC,Case No. 22-5246; determined Direct Infringement by or for the Government
arises when there's a combined ATAK Software; CBRN Plugins; CPU; and Smartphone

       In Larry Golden v. Google, LLC NDC Case 3:22-cv-05246-RFL "Order Granting Motion
to Dismiss with Leave to Amend" Document 41 Filed 08/10/23; the then presiding Judge
Haywood S. Gilliam, Jr. agreed with the Defendant [Google] that the Google Pixel devices could
only infringe Golden's asserted patents if a user were to add the additional ATAK application and
CBRN plugins.
             Case: 24-2256         Document: 11       Page: 5      Filed: 09/13/2024



The Northern District of California Court Judge Rita F. Lin in Golden v. Googlef LLC,Case
No.22-5246; determined Direct Infringement by or for the Government arises when there's
a combined ATAK Software; CBRN Plugins; CPU,and Smartphone

       In Larry Golden v. Google, LLC NDC Case 3:22-cv-05246-RFL "Order Granting Motion
to Dismiss and Denying leave to File a Surreply" Document 68 Filed 04/03/24; the current
presiding Judge Rita F. Lin agreed with the Defendant [Google] that the Google Pixel devices
could only infringe Golden's asserted patents if a user were to add the additional ATAK
application and CBRN plugins.

Judge Bruggink's decision on 11/10/2021 in Golden v. US Case No. 13-307C became
^''MOOV when on Appeal in Golden v. Google Case No.22-1267; determined on 09/08/2022
Direct Infringement by or for the Government, arises when there's a combined ATAK
Software; CBRN Plugins; CPU; and Consumer Device

       As the Court explained in its 1950 opinion in United States v. Munsingwear, Inc.,"[t]he
established practice of the Court in dealing with a civil case from a court in the federal system
which has become moot" on appeal or before the Court has issued its "decision on the merits is
to reverse or vacate the judgment below and remand with a direction to dismiss." United States v.
Munsingwear, Inc., 340 U.S. 36, 39(1950).(analyzing the Munsingwear rule); U.S. Bancorp
Mortg. Co. V. Bonner Mall P'ship, 513 U.S. 18, 22(1994)(describing Munsingwear as "[t]he
leading case on vacatur"); Great W. Sugar Co. v. Nelson,442 U.S. 92,93 n.* (1979)(per curiam)
{^'UnitedStates v. Munsingwear, Inc., is perhaps the leading case on the proper disposition of
cases that become moot on appeal."). Disposing of a moot case in this manner thereby:
       "[cjlears the path for future relitigation ofthe issues between the parties and eliminates a
       judgment, review of which was prevented through happenstance."

       Put another way,the Munsingwear procedure for disposing of cases that become moot on
appeal "prevent[s] a judgment, unreviewable because of mootness, from spawning any legal
consequences," and thereby ensures that the federal appellate courts, rather than individual
litigants, have the last word on the answers to legal questions.
       Judge Bruggink's decision became "woo/" when nine judges, six from the Federal Circuit
and three from the Northern District of Califomia, acknowledged the "U.S. Government", the
single entity under 28 USC § 1498 for direct infringement, is more likely than not, the direct
infnnger because the element-by-element requirement is only satisfied under 28 USC § 1498
when Golden's entire patented invention combination is made and is "suitable for use".
             Case: 24-2256       Document: 11       Page: 6     Filed: 09/13/2024



         THE ISSUES-PROVISIONS ESTABLISHING GOVERNMENT DIRECT
  INFRINGEMENT UNDER 28 U.S.C.§ 1498(a)IN GOLDEN v. US CASE NO. 13-307C
                                   WAS NEVER DECIDED


       Issue preclusion applies only to matters actually decided in the related referenced Golden
V, US Case No. 13-307C; claim preclusion extends to claims that could have been decided in the
related referenced Golden v. US Case No. 13-307C. Following is a list of issues that was never
decided, and claims that could have been decided in the eight years the Claims Court dragged out
this case, but never were:

   • Qualcomm as the prime contractor in the Cell-All initiative, responsible for the
       manufacture of Golden's patented new, improved upon and useful cell phone capable of
       CBRNE detection was never decided; but could have been decided because Golden

       raised the claims on several occasions.

   • Qualcomm as the prime contractor in the Cell-All initiative, responsible for the assembly
       of Golden's patented new,improved upon and useful cell phone, Golden's patented
       central processing unit(CPU),and Golden's multi-sensor detection devices was never
       decided; but could have been decided because Golden raised the claims on several
       occasions.

   • Qualcomm, Google, Apple, Samsung, and LG as the cell phone manufacturers,
       responsible for the inclusion of Golden's patented locking mechanism set to engage
       (lock), disengage (unlock), and disable(make the device unavailable after several failed
       attempts to unlock)the cell phone manufacturers alleged infringing products' lock was
       never decided, but could have been decided because Golden raised the claims on several

       occasions.

   • Qualcomm, Google, Apple, Samsung, and LG as the cell phone manufacturers,
       responsible for the inclusion of Golden's patented multi-sensor detection devices "native"
       to the manufacture of the cell phone(camera sensor internal the alleged infringing
       product, and the smartwatch external the alleged infringing product) was never decided,
       but could have been decided because Golden raised the claims on several occasions.

   • The CPU as an element of the alleged infringing device and/or a patent claim limitation
       ofthe asserted patent claims was never decided; but could have been decided because
       Golden raised the claims on several occasions.
              Case: 24-2256       Document: 11       Page: 7     Filed: 09/13/2024



   • Genel's "implied authorization" and "grant of"authorization and consent", as a
       subcontractor to NASA,for the use and manufacture of any of Golden's patented
       CBRNE inventions was never decided; but could have been decided because Golden
       raised the claims on several occasions.

   • Apple as a private entity directly infringing Golden's patented inventions under 35 U.S.C.
       § 271(a) as a necessary predicate to directly infringing Golden's patented inventions
       under 28 U.S.C. § 1498(a) was never decided; but could have been decided because
       Golden raised the claims on several occasions.

   • Apple, who was contracted under a cooperative agreement, and performing work for the
       government, with the implied authorization of the government to equip Golden's patented
       new,improved upon and useful cell phone with certain security features that are covered
       in Golden's patented inventions, such as: fingerprint and facial biometric technology,
       lock disabling mechanism, near-field communication(NFC), and advanced GPS location
       and tracking was never decided; but could have been decided because Golden raised the
       claims on several occasions.


       Resjudicata and claim preclusion require a final judgment. But here, the prior judgment,
though challenged on appeal, was dismissed on ''mootness'' grounds. A dismissal solely on
mootness grounds does not result in a final judgment"on the merits" as required to apply the
doctrine of res judicata. Published opinion in Parkford Ownersfor a Better Community v.
Windeshausen(D3 Jul. 14, 2022 No. C094419)81 Cal.App.5th 216.(Exhibit A)
       Claim preclusion requires a final judgment on the merits, while issue preclusion requires
a final adjudication of an issue. {Samara v. Matar(2018)5 Cal.5th 322, 324.) Here, the court
held that an appeal challenging the trial court's conclusions, and then decided by the Court of
Appeal, but decided on appeal solely on "a purely procedural or technical ground distinct from
an actual determination of the merits," does not result in a judgment on the merits for purposes
ofresjudicata or preclusion. A dismissed appeal is not "on the merits" if the dismissal was for
"mootness".

       The Supreme Court has stated that [added: Golden] as a litigant have "a 'continuing duty
to inform the Court'" of intervening events that could potentially render a case moot. For many
years Golden has complied with the Supreme Court's decision. See, e.g.. United States v.
Juvenile Male,564 U.S. 932, 933-34(2011)(per curiam)(deeming case moot even though "[n]o
                                                 7
               Case: 24-2256        Document: 11        Page: 8      Filed: 09/13/2024



party had raised any issue of mootness [], and the Court of Appeals did not address the issue sua
sponte'y, St. Paul Fire & Marine Ins. Co. v. Barry,438 U.S. 531, 537(1978)("At the threshold,
we confront a question of mootness. Although not raised by the parties, this issue implicates our
jurisdiction."); North Carolina v. Rice, 404 U.S. 244, 246(1971)(per curiam)("Although neither
party has urged that this case is moot, resolution of the question is essential if federal courts are
to function within their constitutional sphere of authority)."
       Senior Judge Bruggink personally destroyed any and all possibilities of Golden proving,
under § 1498(a), that Golden's entire patented combinations had been made by the combined
efforts of the third-party contractors, and is "suitable for use" FastShip, LLC v. United States.
       Singling out Apple and using Apple to preclude future cases (i.e., DTRA ATAK CBRNE
Plug-ins and DoD JPEO-CBRND)is a serious flaw in adjudicating cases under 28 U.S.C. §
1498(a) when excluding components hinders a product from being "suitable for use".



         THE GOVERNMENT'S REQUEST FOR GOLDEN'S PATENTED
             INyENTION(S)COMBINATIONS - CONTRACTORS

                      Central                                Detection          Stall, Stop,
                                     Communication
                 Processing Unit                              Device          Vehicle Slow-
                                           Device
                     (CPU)                                                    Down System
                                                           Placed In, On,
                                        Smartphones,
                    CPU / SoC                                    Upon,        Remote, Cellular,
                                        PCs, Laptops,
                    Processor /                            Adjacent - i.e..     Satellite, Pre
                                           Tablets
                      Chipset                                 Plugins           programmed

                                                              SeaCoast
                    Qualcomm                                 Rhevision
     DHS
                       Apple                                     NASA                X
  {Cell-Alt)          Google
                                             LG
                                                              Synkera
                                         Qualcomm
                                                             Qualcomm

                       DTRA                Google
                     Qualcomm               Apple
    DTRA
                       Apple              Samsung                Draper            Draper
  (ATAK)
                      Google                 LG
                     Microsoft           Qualcomm

                       Draper              Google
     DoD               DTRA                 Apple
   (JPEO-             Google              Samsung                Draper            Draper
   CBRND)              Apple                 LG
                     Microsoft           Qualcomm
             Case: 24-2256        Document: 11       Page: 9     Filed: 09/13/2024



 GOLDEN'S"FOUR"PATENTED INVENTION(S)COMBINATIONS ASSERTED IN
  THIS CAFC CASE NO.24-2256 GOLDEN v. US WAS NEVER ADJUDICATED AND
        THEREFORE CANNOT BE DISMISSED FOR ISSUE PRECLUSION

       Golden is not "precluded" from asserting in this current case on appeal Golden v. US
CAFC Case No, 24-2256, claim 1 of Golden's U.S. Patent "10,984,619" that was issued on April
20,2021 for Golden's invention of"a communication device, comprising; a central processing
unit(CPU); capable of CBRNE detection; and capable of stalling or stopping a vehicle".[Claim
1 of Golden's U.S. Patent "10,984,619" that was never asserted in Golden v. US COFC Case No.
13-307C, which means the claim cannot be dismissed for issue preclusion because the Claims
Court never adjudicated the claim for validity or construed the claim].
       Golden is not "precluded" from asserting in this current case on appeal Golden v, US
CAFC Case No. 24-2256, claim 11 of Golden's U.S. Patent "10,984,619" that was issued on
April 20, 2021 for Golden's invention of"a central processing unit(CPU); integrated with a
communication device: capable of CBRNE detection; and capable of processing instructions for
stalling or stopping a vehicle".[Claim 11 of Golden's U.S. Pat."10,984,619" was never asserted
in Golden v. US COFC Case No. 13-307C, which means the claim cannot be dismissed for issue
preclusion because the Claims Court never adjudicated for validity or construed the claim].
       Golden is not "precluded" from asserting in this current case on appeal Golden v. US
CAFC Case No. 24-2256, claim 1 of Golden's U.S. Patent "11,645,898" that was issued on May
9, 2023 for Golden's invention of"a pre-programmed stall, stop, vehicle slow-down system;
comprising a communication device: a central processing unit(CPU); and capable of processing
instructions for stalling or stopping a vehicle when CBRNE is detected".[Claim 1 of Golden's
U.S. Patent "11,645,898" that was not issued before the close of Golden v. US COFC Case No.
13-307C, which means the claim cannot be dismissed for issue preclusion].
       Golden is not "precluded" from asserting in this current case on appeal Golden v. US
CAFC Case No. 24-2256, claim 6 of Golden's U.S. Patent "10,163,287" that was issued on
December 25,2018 for Golden's invention of"[] monitoring equipment, comprising;
communication device; a central processing unit(CPU); capable of CBRNE detection; and
capable of stalling or stopping a vehicle".
       In the following chart the text highlighted in bold blue are the preambles to Golden's four
claimed inventions. Each claim combines all four inventions that was never adjudicated:
            Case: 24-2256           Document: 11            Page: 10        Filed: 09/13/2024




THE GOVERNMENT'S REQUEST FOR GOLDEN'S PATENTED INVENTION(S)
                          COMBINATIONS -PATENT CLAIMS

  Patent Claims
                           Claim 1 of           Claim 11 of            Claim 1 of             Claim 6 of
        -for-
                          U.S. Patent           U.S. Patent           U.S. Patent            U.S. Patent
     Patented
                         "10,984,619"          "10,984,619"          "11,645,898"          "10,163,287"
    Inventions


                                                                        processing         [] communication
                                                whereupon, the
 Communication          A communication                               instructions to       with [] one CPU
                                              central processing                           configured to send
      Device             device that is at                             stall, stop, or
                                               unit(CPU)ofthe
                         least a personal                              slow-down a             signals ...
                                               communication
CMDC Device(s) i.e.,    computer(PC), a                             vehicle [] receives     communication
                                               device is capable                                device []
 Smartphones, PCs,         cellphone, a                              a signal from []
                                                 of processing                                 capable of
  Laptops, Tablets,       smartphone, a                                 (PC),...a
                                                instructions for
Monitoring Equipment       laptop, or a                               smartphone, a         communicating,
                                               operational and                                monitoring,
   and Cell-phone           handheld                                 laptop, a tablet, a
                                                  functional
  Detection Devices          scanner,                                   PDA, or a            detecting, and
                                                  execution.
                                                                        handheld;             controlling.

                                                  A central           Wherein, when
Central Processing                             processing unit         the [](CPU)
   Unit(CPU)       comprising at least        (CPU)of... a ...           processes
                                                                                           at least one central
                             a central        (PC),a cellphone,       instructions to
                                                                                            processing unit
  CPU / Processor /       processing unit      a smartphone, a         stall, stop, or
                                                                                                (CPU)
    Chipset / SoC       (CPU), capable of:       laptop, or a          slow-down a
                                                  handheld          vehicle, ... is sent
                                                 scanner,...:       [] monitoring site

                                                                        processing
                                                                      instructions to
                            processing            processing                                 A monitoring
                                                                       stall, stop, or
                         instructions to []    instructions to []                             equipment,
 Detection Device                                                      slow-down a
                        detect [] chemical    detect [] chemical                             comprising...
                                                                     vehicle when ...
                         [], biological [],    [], biological [],                          detecting at least
 Placed In, On, Upon,                                                 chemical [], a
                          radiological [],      radiological [],                             ... chemical,
 Adjacent the CMDC                                                    biological [], a
                          nuclear [], or        nuclear [], or                                 biological,
      Device(s)                                                      radiological []; a
                         explosive [], ...     explosive [],...                             radiological, or
                                                                       nuclear []; or
                            (WMDs);               (WMDs);                                  explosive agents;
                                                                       explosives []
                                                                         detected;

                                                                          A pre
                                                                                            at least one of a
                                                                       programmed
Stall, Stop, Vehicle        processing            processing                                transmitter or a
                                                                    stall, stop, vehicle
                          instructions to       instructions to                            transceiver ... at
   Slow-Down                                                           slow-down
                          activate a start,     activate a start,                            least one CPU
      System                                                            system,...
                           stall, stop, or       stall, stop, or                            configured to...
                                                                        processing
                         disabling means       disabling means                                monitor... a
  Remote, Cellular,                                                 instructions to...
                           by engaging a         by engaging a                             vehicle, or[] send
                                                                     vehicle when ...
    Satellite, Pre       vehicle's ignition    vehicle's ignition                          signals to control
    programmed                                                      driverless [|; self-
                              system;              system;                                  components of a
                                                                      drive II; an|d)
                                                                                               vehicle...
                                                                     autonomous ...




                                                     10
             Case: 24-2256        Document: 11       Page: 11      Filed: 09/13/2024



    THE GOVERNMENT'S"LANGUAGE OF INTENT"TO COMBINE GOLDEN'S
                                PATENTED COMBINATIONS

       In addition to a detailed description of the combined efforts of all third-party contractors,
the "language of intent", wherever necessary to show the Government has "authorized and
consented" to combining components of Golden's patented combination, is included in the
government solicitation(s), awards, and contracts. An example of the "language of intent", to
combine the combined components of Golden's patented combination is recognized in the DHS
Cell-All initiative; the DoD UYKAATAK initiative; and the DoD "JPEO-CBRND" initiative.

DHS S&T ''''Cell-Air [Past "Language ofIntent" to Combine]
       Spearheaded by the Department of Homeland Security's(DHS)Science and Technology
Directorate(S&T), Cell-All aims to equip your cell phone with a sensor capable of detecting
deadly chemicals ... "Our goal is to create a lightweight, cost-effective, power-efficient
solution," says Stephen Dennis, Cell-All's program manager:
       In 2007, S&T called upon the private sector to develop concepts of operations. To this
       end, three teams from Qualcomm,the National Aeronautics and Space Administration
       (NASA),and Rhevision Technology are perfecting their specific area of expertise.
       Qualcomm engineers specialize in miniaturization and know how to shepherd a product
       to market. Scientists from the Center for Nanotechnology at NASA's Ames Research
       Center have experience with chemical sensing on low-powered platforms, such as the
       International Space Station. And technologists from Rhevision have developed an
       artificial nose—o.piece of porous silicon that changes colors in the presence of certain
       molecules, which can be read spectrographically ... Similarly, S&T is pursuing what's
       known as cooperative research and development agreements with four cell phone
       manufacturers: Qualcomm,LG,Apple, and Samsung. These written agreements, which
       bring together a private company and a government agency for a specific project, often
       accelerate the commercialization oftechnology developed for government purposes. The
       Department ofHomeland Security's(DHS)2007.

       Qualcomm,the primary contractor for the Cell-All initiative, role has been to develop a
smartphone app [CPU/Chipset] and the associated network software for processing data.
Smartphone users can download the app from Google Play and,from Apple's iTunes store, so
Cell-All will be operational on all phones using either Google's Android operating systems or
Apple's iPhone operating systems.
       The Senior Judge Bruggink redirected and broadened the jurisdiction of the Claims Court
by narrowing the case to a dispute between two private entities under 35 U.S.C. § 271(a); Golden



                                                11
             Case: 24-2256        Document: 11        Page: 12     Filed: 09/13/2024



and Apple, Inc. "[P]roving direct infringement under 35 U.S.C. § 271(a) is not a necessary
predicate for proving direct infringement under 28 U.S.C. § 1498(a)." Zoltek V
       When Senior Judge Bruggink redirected and broadened the jurisdiction ofthe Claims
Court by narrowing the case to a dispute between the two private entities, Golden v. Apple, Inc.,
Senior Judge Bruggink personally destroyed any and all possibilities of Golden proving, under §
1498(a), that Golden's entire patented combination had been made by the combined efforts of the
third-party contractors, and is "suitable for use" FastShip, LLC v. United States.

DoD DTRAATAK [Current"Language of Intent" to Combine]
       Another example of the "language of intent", to combine the components of Golden's
patented combination is recognized in the DoD DTRA initiative [the current case]. The Android
Team Awareness Kit(ATAK)is an Android smartphone geospatial infrastructure and military
situation awareness app for Google, Samsung, LG, Qualcomm, etc. ATAK has a CBRNE plugin
architecture which allows developers to add functionality. This extensible plugin architecture that
allows enhanced capabilities for specific mission sets. [Draper Laboratory, Inc.]
       In September 2015, Defense Advanced Research Projects Agency(DARPA)reported that
ATAK was used in a successful demonstration of the Persistent Close Air Support Program, and
is in use by thousands of users. In 2018,the United States Air Force(USAF)Security Forces
deployed ATAK at Eglin AFB,Florida. The Android Team Awareness Kit or TAK is currently
used by thousands of Department of Homeland Security(DHS)personnel, along with other
members ofthe Homeland Security Enterprise including state and local public safety personnel.
TAK has supported the rescue of over 2,000 people during disaster response for seven major
hurricanes(Harvey, Irma, Maria, Florence, Lane, Michael, and Dorian). The capability is also
regularly used during public safety operations and national security special events like United
Nations General Assembly meetings and the Super Bowl.
       ATAK has various end-user versions: ATAK - Civilian(ATAK-CIV); ATAK -
Government(ATAK-GOV); and, ATAK - Military (ATAK-MIL). This initiative combines
Golden's patented CMDC device, CPU,and Multi-Sensor Detection device.

DoD "JPEO-CBRND"[Future "Language of Intent" to Combine]
       Another example ofthe "language ofintent", to combine the components of Golden's
patented combination is recognized in the DoD JPEO-CBRND initiative [a future case for


                                                12
             Case: 24-2256       Document: 11        Page: 13     Filed: 09/13/2024



filing]. The Joint Program Executive Office for Chemical, Biological, Radiological, and Nuclear
Defense(JPEO-CBRND)is a component of the U.S. Department of Defense's Chemical and
Biological Defense Program,the JPEO-CBRND protects the entire Joint Force -Army, Navy,
Air Force, Marines, Coast Guard, and First Responders -through the advanced development of
CBRN defense capabilities.
       Four Joint Project Managers(JPM)provide oversight for the portfolios, including JPM
CBRN Protection, JPM CBRN Medical, JPM CBRN Sensors and JPM CBRN Special
Operations Forces. Two Joint Project Leads(JPL)focus on CBRN defense enabling
biotechnologies and CBRN integration. The JPLs also provide portfolio-wide enabling support
across the JPEO-CBRND.

       Draper Laboratory has been awarded a $26 million (all options) contract by the U.S.
Department of Defense(DOD)to further expand the capabilities of its unmanned autonomous
systems(UAS)software to perform chemical, biological, radiological and nuclear(CBRN)
reconnaissance missions in collaborative teams and in degraded operating environments.
       Draper's UAS on a CBRN reconnaissance mission includes a TAK-enabled consumer
device. Draper will advance its system under an effort at JPEO-CBRND called CSIRP, which
stands for CBRN Sensor Integration on Robotic Platforms. Additional enhancements to the
system will include advances in CBRN sensors.
       The autonomous software on the aerial unmanned platform will be designed to operate
with the command-and-control user interface for the U.S. Army's Nuclear, Biological and
Chemical Reconnaissance Vehicle(NBCRV)Stryker platform currently being developed by
Teledyne FLIR. Both the autonomous SkyRaider and the new sensor payloads will be designed
to operate with the command-and-control user interface for the US Army's Nuclear, Biological
and Chemical Reconnaissance Vehicle(NBCRV)Stryker platform.
       Draper will integrate communications with the Tactical Assault Kit(TAK)platform,
enabling the unmanned systems to send images to a mobile device (i.e., smartphone, laptop,
tablet) and overlay the locations of detected objects of interest on an aerial map for human team
members, all in real-time.
       A major focus for Draper is to extend its air-ground teaming architecture to link multiple
systems into a mesh network. With mesh, every autonomous vehicle; the aerial(UAV), ground
(UGV),and maritime(USV),becomes an access point and relays messages among themselves.


                                                13
             Case: 24-2256       Document: 11        Page: 14     Filed: 09/13/2024



       The UASs will use Draper's novel algorithm to synthesize the data from onboard sensors
including GPS,LiDAR,accelerometer, magnetometer and onboard cameras, and be able to
communicate with human operators, centralized command centers, and other teamed UASs.
       In addition to the DoD and Draper manufacturing or using Gulden's patented invention
combinations in the current case Golden v. DTRA (the "Government"), that includes as one of the
combined component a TAK-enabled device or mobile device (i.e., smartphone, tablet, etc.);
DoD and Draper have extended their reach into Gulden's patented combined combinations of at
least Gulden's patented TAK-enabled CMDC device(s) for purposes of section 1498(a).
       The DoD and Draper has combined Gulden's patented stall, stop, and vehicle slow-down
system for controlling the operational systems of an unmanned aerial vehicle(UAV)in the DoD
JPEO-CBRND initiative.

       Golden provides additional patent claims not already asserted in this current case, but are
relevant to the future case, whereby DoD JPEO-CBRND is defendant. This initiative combines
Gulden's patented CMDC device, CPU, Multi-Sensor Detection device; and stall, stop, slow
down system for autonomous vehicles.


                                 SUMMARY AFFIRMANCE

       The United States Court of Federal Claims(C.F.C. or COFC)is a United States federal
court that hears monetary claims against the U.S. government. Because the COFC court only
hears cases against the Government,the United States is always the defendant in cases before the
United States Court of Federal Claims(CFC).
       Therefore, the question here is "did the United States authorize the infringement of, or
consented to the manufacture of Gulden's patented CMDC device, CPU, Multi-Sensor Detection
device; and stall, stop, slow-down system for autonomous vehicles"?
       The next question is "under the United States expressed or implied authorization for
contractors and subcontractors alike, for the DHS Cell-All initiative; the DoD XyTKAATAK
initiative; and the DoD "JPEO-CBRND" initiative; were there products manufactured for or by
the United States in accordance to the requested specifications, so that the requirements were
satisfied under 28 USC § 1498(a)for the infringement of Gulden's patented inventions
combinations and manufactured to the point of being "suitable for use"?




                                                14
             Case: 24-2256        Document: 11        Page: 15      Filed: 09/13/2024



        The last question is "why was Golden ordered to prove direct infringement under 35
U.S.C. § 271(a) against the private entity Apple in Golden v. US(DHS)COFC Case No. 13-
307C,and prove direct infringement under 35 U.S.C. § 271(a) against the private entity Google
in Golden v. US(DTRA)COFC Case No. 23-811C, as a necessary predicate to proving direct
infringement under 28 USC § 1498(a)"?
        Apple was never awarded a sole source contract under the DHS Cell-All initiative, and
Google was not awarded a sole source contract under the DoD DTRA ATAK initiative.
According to FAR 6.303-1 Requirements:"A contracting officer shall not commence
negotiations for a sole source contract, commence negotiations for a contract resulting from
an unsolicited proposal, or award any other contract without providing for full and open
competition unless the contracting officer certifies the accuracy and completeness of the
justification."
        In fact, Apple did not participate in, and was not recognized as being a contributor in the
development of the first new, improved upon, and useful cell phone at the 2010 DHS S&T
Directorate Cell-All Demonstration (Exhibit B).
        Another fact; the Government claims it is the inventor of the smart phone, not Apple.
(Exhibit C). Apple is credited by the Government as being a good assembler of the components
that forms the smartphone, but Apple, nor Steve Jobs is the inventor of the smartphone.
        Apple credits itself as being a thief. Steve Jobs who famously said in 1996:"Picasso had
a saying -'good artists' copy; great artists steal' ~ and we have always been shameless about
stealing great ideas." https://www.cnet.com/tech/tech-industrv/what-steve-iobs-reallv-meant-
when-he-said-good-artists-copv-great-artists-steal/
        As indicated throughout this reply document and Gulden's motion for summary
affirmance, Golden's case cannot be dismissed for preclusion on issues that are "moot". A party
may raise a mootness challenge at any time during the litigation, including for the first time on
appeal. DBSl/TRIIVLtd. P'ship v. United States, 465 F.3d 1031, 1038 (9th Cir. 2006)(explaining
that mootness is a "jurisdictional issue that may be raised at any time, even for the first time on
appeal").
        This Motion for Summary Affirmance that is filed prior to completion of briefing include
a showing that the Claims Court dismissal under the Res Judicata and the Kessler doctrines, are
in fact so manifestly unsubstantial that disposition by motion is appropriate.

                                                 15
             Case: 24-2256         Document: 11        Page: 16       Filed: 09/13/2024



       The instant motion for summary affirmance satisfies the high standard governing [the]
award of such relief."A party seeking summary disposition bears the heavy burden of
establishing that the merits of his case are so clear that expedited action is justified." Taxpayers
Watchdog, Inc. v. Stanley, 819 F.2d 294, 297-98(D.C. Cir. 1987).
       The true issue of Golden's cases has never been adjudicated or resolved, and is still
ongoing:     James v. Campbell, 104 U.S. 356, 357-58(1882), the Supreme Court explained that
when the government grants a patent, it "confers upon the patentee an exclusive property in the
patented invention which cannot be appropriated or used by the government itself, without just
compensation."
       (Exhibit D)is just a small example of how the Government(DHS)continues to
appropriated or used Golden's patents without just compensation.




                                                       Sincerely,




                                                                    in. Pro Se(Plaintiff
                                                      740 Woodruff Rd.,#1102
                                                       Greenville, SC 29607
                                                      (H)8642885605
                                                      (M)8649927104
                                                       Email: atpg-tech@charter.net




                                                 16
          Case: 24-2256     Document: 11     Page: 17   Filed: 09/13/2024




                          CERTIFICATE OF SERVICE



      The undersigned hereby certifies that on this 12^^ day of September, 2024, a
true and correct copy ofthe foregoing "Plaintiff-Appellant's Reply in Support of
Plaintiff-Appellant's Motion for Summary Affirmance", was served upon the
following Defendant by priority "express" mail:


                                Grant D. Johnson

                                  Trial Attorney
                          Commercial Litigation Branch
                                  Civil Division

                              Department of Justice
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                                        17
Case: 24-2256   Document: 11   Page: 18   Filed: 09/13/2024




                Exhibit A




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                                          united States Court of Appeals
                                             For the Federal Circuit
            Case: 24-2256        Document: 11       Page: 19     Filed: 09/13/2024




Filed 7/14/22
                              CERTIFIED FOR PUBLICATION




                IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                               THIRD APPELLATE DISTRICT

                                             (Placer)




 PARKFORD OWNERS FOR A BETTER                                           C094419
 COMMUNITY,
                                                               (Super. Ct. No, SCV0041548)
                  Plaintiff and Appellant,



 JENINE WINDESHAUSEN,as County Treasurer-
 Tax Collector, etc., et al..

                   Defendants and Respondents;

 SILVERSWORD PROPERTIES,LLC,et al..

                  Real Parties in Interest and Respondents.



        APPEAL from a judgment of the Superior Court of Placer County, Charles D.
Wachob, Judge. Reversed with directions.

        Law Office of Donald B. Mooney and Donald B. Mooney for Plaintiff and
Appellant Parkford Owners for a Better Community.
        Clayton T. Cook, County Counsel for Defendants and Respondents Jenine
Windeshausen, as County Treasurer-Tax Collector and County of Placer.


                                                1
          Case: 24-2256       Document: 11       Page: 20      Filed: 09/13/2024




       Remy Moose Manley, James G. Moose, Laura M. Harris and Nathan O. George
for Real Parties in Interest and Respondents Silversword Properties, K.H. Moss
Company, and Moss Equity.

       This is the second appeal arising out of a dispute over the operation of a
commercial self-storage facility (Treelake Storage) within a planned unit development in
Granite Bay (Treelake Village). Real party in interest, Silversword Properties, LLC
(Silversword) owns the property upon which real parties in interest K.H. Moss Company
and Moss Equity (collectively. Moss)operate Treelake Storage.
       In a separate but related lawsuit filed in 2017, Parkford Owners for a Better
Community (Parkford) challenged Placer County's(County)issuance of a building
permit for the construction of an expansion of Treelake Storage, asserting that the County
failed to comply with both the California Environmental Quality Act(CEQA)(Pub.
Resources Code,§ 21000 et seq.) and the Planning and Zoning Law(Gov. Code, § 65000
et seq.). The trial court concluded: (1)the County's issuance of the building permit was
ministerial rather than discretionary, and therefore CEQA did not apply; and (2)
Parkford's challenge under the Planning and Zoning Law was barred by the statute of
limitations. Parkford appealed, challenging each of these conclusions.
      In August 2020, a different panel of this court dismissed the appeal in a published
opinion, concluding that completion of the challenged expansion of Treelake Storage
prior to entry ofjudgment rendered moot Parkford's challenge to the County's issuance
of a building permit authorizing construction ofthe expansion. {Parkford Ownersfor a
Better Community v. County ofPlacer(2020)54 Cal.App.5th 714 {Parlford /).)

       Nearly a year later, in June 2021, the trial court concluded that the present lawsuit,

which was filed by Parkford in 2018 and challenged the County's issuance of a business
license for the operation of Treelake Storage, was barred by both aspects of the doctrine
of res judicata—claim and issue preclusion. This appeal followed.
          Case: 24-2256       Document: 11      Page: 21     Filed: 09/13/2024




       We conclude that ParJrford I does not constitute a final judgment "on the merits"
as defined by the applicable authority explaining what constitutes a final judgment on the
merits for purposes of determining whether a new claim is barred by the law of
preclusion; therefore, the doctrine ofres judicata (including both claim and issue
preclusion) does not operate to bar the present lawsuit. Accordingly, we will reverse the
judgment and remand for further proceedings.
                   FACTUAL AND PROCEDURAL BACKGROUND

      The underlying facts are set forth in greater detail in our prior published opinion,
ParJrford I, supra, 54 Cal.App.5th 714. We summarize those facts herein as relevant to
provide context for the current appeal.
      Treelake Storage, which is located within the Treelake Village planned unit
development in Granite Bay, has been in operation for more than 20 years. {Parkford I,
supra, 54 Cal.App.5th at p. 717.) As originally approved more than 30 years ago,
Treelake Village would consist of over 1,000 residential units and various amenities,
including a number of lakes and waterways, and storage for boats and recreational
vehicles owned by residents of the community. {Ibid.) The latter amenity, to be located
on a power line easement that crossed the property, would eventually become Treelake
Storage. {Ibid.)

      Environmental Review

      In June 1987, after preparation of a final environmental impact report(EIR), a
notice of determination was filed indicating the County determined that the Treelake
Village development project would not have a significant effect on the environment, an
EIR was prepared, and mitigation measures were made a condition of the project's
approval. {Parkford I, supra, 54 Cal.App.5th at p. 717.)
       Over a decade later, in June 1998, an addendum to the final EIR was completed.

{Parkford I, supra, 54 Cal.App.5th at p. 717.) The addendum was prepared due to
modifications to the Treelake Village Master Plan, which included increasing the
          Case: 24-2256        Document: 11       Page: 22    Filed: 09/13/2024




minimum lot size and subdividing certain parcels into smaller lots. {Ibid.) That
September, a notice of determination was filed indicating the County determined that the
modifications would not have a significant effect on the environment, an addendum to the
previous EIR was prepared, and mitigation measures were made a condition of the
project's approval. {Ibid.)
       The final subdivision map for Treelake Village was recorded in April 1999.
{Parlrford /, supra, 54 Cal.App.5th at p. 717.)
       Initial Construction ofTreelake Storage
       The authorization of a commercial self-storage facility within the Treelake Village
development occurred through modification of the conditional use permit(CUP-1006)for
the Treelake Village project. {ParkfordI, supra, 54 Cal.App.5th at pp. 717-718.) In
relevant part, condition 7 of CUP-1006 originally stated: "The following uses are among
those permitted within and adjacent to the high-voltage power line easements crossing the
project property. Developer shall select from his list such facilities as in his judgment
best serve the project and shall provide a schedule for the review and approval by [the
County's development review committee] •. • [1]. •.[t](G)Recreational vehicle and

boat storage for project residents only." {Id. at p. 718.)
       In November 1993, the County Planning Department approved ministorage as an

appropriate use within the power line easement. {Parlford I, supra, 54 Cal.App.5th at
p. 718.) In the meantime, an amendment of CUP-1006 resulted in a renumbering ofthe
conditions that caused condition 7 to become condition 8. {Ibid.)

       In May 1996, the County Planning Commission approved a requested
modification of condition 8(G)to remove the residents-only restriction on use ofthe

planned storage facilities. {Parkford I, supra, 54 Cal.App.5th at p. 718.)
       In August 1997, a building permit was issued for construction of Treelake Storage.
{Parkford I, supra, 54 Cal.App.5th at p. 718.) A building permit for "Phase 11" of the
          Case: 24-2256       Document: 11       Page: 23      Filed: 09/13/2024




construction was issued in September 1998. {Ibid.) After construction was completed, a
certificate of occupancy was issued in November 1999. {Ibid.)
       Subsequent Expansion ofTreelake Storage
       In April 2001, and again in August 2004,two additional phases of construction to
expand Treelake Storage's facilities were approved, and building permits were issued for
each phase of expansion. {Parkford I, supra, 54 Cal.App.5th at p. 718.) Certificates of
occupancy were issued in 2002 and 2005, respectively, after construction of each
expansion phase was completed. {Ibid.)
       Finally, in August 2016, plans for the most recent expansion ofTreelake Storage
were approved. {Parkford I, supra, 54 Cal.App.5th at p. 718.) The building permit for
this expansion was issued in October 2016; it authorized construction of a 28,240-square-
foot building and associated utilities. {Id. at pp. 718-719.) After construction was
completed, a certificate of occupancy was issued in October 2017. {Ibid.)
       Parkford I
       In February 2017, Parkford filed a separate but related lawsuit, i.e., ParirfordI.
{Parkford I, supra, 54 Cal.App.5th at p. 719.) The operative pleading challenged the
County's issuance ofthe October 2016 building permit under CEQA and the Planning
and Zoning Law and sought a writ of mandate directing the County to set aside its
approval of the building permit and all related approvals, prepare and certify an adequate
EIR for the expansion project, and suspend all construction activity until the County
complied with CEQA and all other applicable laws. {Id. at pp. 718-719.)
       In April 2018, the trial court concluded that the County did not violate CEQA

because the issuance of the challenged building permit was a ministerial action.
{Parkford /, supra, 54 Cal.App.5th at p. 720.) Thereafter, the trial court concluded that
Parkford's Planning and Zoning Law claim was barred by the 90-day statute of
limitations set forth in Government Code section 65009. {Parkford I, at p. 721.)

Parkford appealed, challenging each of these conclusions. {Ibid.)
          Case: 24-2256        Document: 11       Page: 24      Filed: 09/13/2024




       The Present Lawsuit and Prior Appellate Opinion
       Parkford filed the present lawsuit in July 2018, less than three weeks after
judgment was entered against it in Parkford /. The operative pleading challenged the
County's issuance of a business license to Treelake Storage on the ground that a
ministorage facility was not an allowable use for property zoned "Residential-Ag" under
the county code. Parkford asserted that Treelake Storage was operating without a valid
business license because a ministorage facility was not an allowable use in residentially
zoned districts, even by special permit such as a conditional use permit. Parkford sought
a writ of mandate directing the County to vacate and set aside the current business
license, an order declaring that the issuance of any renewals ofthe business license would
be in violation of the county code, and a permanent injunction prohibiting the County
from issuing any further renewals of the business license.
       In January 2019, the trial court stayed the present lawsuit pending the outcome of
the appeal in Parkford 1. In August 2020, a panel of this court dismissed the appeal in
Parlford /, finding that completion of the challenged expansion of Treelake Storage prior
to entry ofjudgment rendered moot Parkford's challenge to the County's issuance of the
building permit authorizing construction of the expansion. (Parlford I, supra,
54 Cal.App.5th at p. 725.)
       After the remittitur was issued, the trial court lifted the stay of the present lawsuit
in February 2021. In April 2021, Silversword and Moss (collectively, real parties in
interest or real parties) filed a motion for judgment on the pleadings, which was joined by
defendants the County and Jenine Windeshausen, in her official capacity as the Placer
County Treasurer-Tax Collector (collectively, defendants). Real parties asserted that the
present lawsuit was barred by both aspects ofthe doctrine of res judicata—claim and issue
preclusion. As for the requirement of a final judgment on the merits, the moving papers
provided no analysis of the relevant case law and simply stated in a conclusory manner
that the judgment in the prior case qualified as a final judgment on the merits.
           Case: 24-2256        Document: 11          Page: 25   Filed: 09/13/2024




       In response, Parkford argued(among other things) that neither claim nor issue
preclusion applied because there was no final judgment on the merits, relying in part on
cases we later discuss. In reply, real parties argued that there was a final Judgment on the
merits because our prior opinion in ParJ^ord I left the judgment intact when dismissing
the appeal as moot, also citing cases that we later discuss in purported support of their
argument.

       The trial court issued a tentative decision granting the motion, which became the
final order of the court. The tentative decision did not discuss the relevant case law or

explain why there was a final judgment on the merits for purposes of the law of
preclusion. The trial court's analysis in support of its decision was as follows: "A
review ofthe first amended petition, in conjunction with judicially noticeable documents,
shows the claims are barred by the doctrines of res judicata and collateral
estoppel. [H] Specifically, Exhibit A shows plaintiff previously filed a writ petition
against the respondents and real parties, or are in privity with the respondents, involving
the same CUP permit and storage facility with the respondents and real parties prevailing
in the action. The causes of action within the two actions stem from the same primary
right. In light of this, current action is barred."
       This appeal followed.^ Briefing was completed on February 22,2022, and the
case was assigned to a panel of this court shortly thereafter. The panel as presently
constituted was assigned in May 2022. The parties requested oral argument, which was
heard on June 24,2022.
                                        DISCUSSION

       Parkford contends reversal is required because the trial court erred in determining
the present lawsuit is barred by the principles of claim and issue preclusion. We agree.




^ Defendants filed a joinder to real parties' appellate briefing.
          Case: 24-2256        Document: 11        Page: 26     Filed: 09/13/2024




Although we do not dispute that our dismissal of the appeal in Parkford I left the
judgment ofthe trial court intact, we do not agree with real parties that the dismissal
solely on mootness grounds resulted in a final judgment"on the merits" as required to
apply the doctrine of res judicata. Due to the dismissal ofthe appeal, the merits ofthe
trial court's challenged rulings in ParJrfordI evaded appellate review. Thus, as we next
explain, the earlier litigation did not result in a final judgment on the merits such that

application ofthe doctrine of res judicata is proper.
                                               I

                      The Law ofPreclusion and Standard ofReview
       A. Claim and Issue Preclusion

       "The law of preclusion helps to ensure that a dispute resolved in one case is not
relitigated in a later case. Although the doctrine has ancient roots [citation], its contours
and associated terminology have evolved over time." {Samara v. Matar(2018)5 Cal.Sth
322, 326 {Samara).) Courts have at times used "res judicata"~"Latin for 'a thing
adjudicated' "--as an umbrella term, encompassing both the primary aspect of claim
preclusion and the secondary aspect of issue preclusion. {DKN Holdings LLC v. Faerber
(2015)61 Cal.4th 813, 823-824 {DKN Holdings)', Guerrero v. Department ofCorrections
iSc Rehabilitation (2018)28 Cal.App.5th 1091, 1098.)
       ''Claim preclusion 'prevents relitigation of the same cause of action in a second
suit between the same parties or parties in privity with them.' [Citation.] Claim
preclusion arises if a second suit involves(1)the same cause of action (2) between the
same parties(3)after a final judgment on the merits in the first suit." {DKN Holdings,
supra,61 Cal.4th at p. 824.) If claim preclusion is established, it operates to bar causes
of action that were, or could have been, litigated in the first suit. {Busick v. Workmen's
Comp. Appeals Ed (1972)7 Cal.3d 967, 975; DKN Holdings, at p. 824.) Claim
preclusion promotes judicial economy and avoids piecemeal litigation by preventing a
plaintiff from"'"splitting a single cause of action or relitigat[ing] the same cause of

                                              8
          Case: 24-2256       Document: 11       Page: 27      Filed: 09/13/2024




action on a different legal theory or for different relief."'"(Mycogen Corp. v. Monsanto
Co.(2002)28 Cal.4th 888, 897.)

       ''Issue preclusion prohibits the relitigation of issues argued and decided in a
previous case, even if the second suit raises different causes of action. [Citation.] Under
issue preclusion, the prior judgment conclusively resolves an issue actually litigated and
determined in the first action. [Citation.] There is a limit to the reach ofissue preclusion,
however. In accordance with due process, it can be asserted only against a party to the
first lawsuit, or one in privity with a party." (DKNHoldings, supra, 61 Cal.4th at p. 824.)
Issue preclusion applies only: "'(1) after final adjudication (2)of an identical issue(3)
actually litigated and necessarily decided in the first suit and (4) asserted against one who
was a party in the first suit or one in privity with that party.'" {Samara, supra, 5 Cal.5th
at p. 327; DKN Holdings, at p. 825.) "Courts have understood the'"necessarily
decided"'prong to'require[] only that the issue not have been "entirely unnecessary" to
the judgment in the initial proceeding' [citation]—leaving room for a decision based on
two grounds to be preclusive as to both." {Samara, at p. 327.)
       Whether claim or issue preclusion applies in a particular case is a question of law.
{Ayalav. Dawson (2017) 13 Cal.App.5th 1319, 1325.)
       B. Standard ofReview
       "In an appeal from a motion granting judgment on the pleadings, we accept as true
the facts alleged in the complaint and review the legal issues de novo. 'A motion for
judgment on the pleadings, like a general demurrer, tests the allegations ofthe [operative
pleading], supplemented by any matter of which the trial court takes judicial notice, to

determine whether [the party] has stated a cause of action. [Citation.] Because the trial

court's determination is made as a matter of law, we review the ruling de novo, assuming
the truth of all material facts properly pled.'" {Angelucci v. Century Supper Club (2007)
41 Cal.4th 160, 166.)
            Case: 24-2256       Document: 11        Page: 28     Filed: 09/13/2024




                                               II

                                           Analysis
       A. Forfeiture

       We first reject real parties' initial contention that Parkford has forfeited its
appellate arguments by failing to request a statement of decision or challenge the trial
court's tentative ruling. A party's "[s]ubmission on a tentative ruling is neutral; it
conveys neither agreement nor disagreement with the analysis." {Mundy v. Lenc(2012)
203 Cal.App.4th 1401, 1406.) On appeal, Parkford asserts error as to legal issues that
were briefed by the parties and specifically addressed in the tentative ruling. We find no
merit in real parties' suggestion that a party must object to a tentative ruling and reiterate
every rejected argument in order to preserve those arguments on appeal. (See Schulz v.
Jeppesen Sanderson, Inc.(2018)27 Cal.App.5th 1167, 1179-1180 [finding no such
requirement with regard to a statement of decision].) Further, we find real parties'
reliance on Old East Davis Neighborhood Assn. v. City ofDavis(2021)73 Cal.App.5th
895 and Porterville Citizensfor Responsible Hillside Development v. City ofPorterville
(2007) 157 Cal.App.4th 885, misplaced. Both of those cases are clearly distinguishable.
(See Old East Davis, at pp. 911-912 [failure to request a ruling on contentions the trial
court expressly declined to reach in tentative ruling results in forfeiture of contentions on
appeal]; Porterville, at pp. 911-912 [failure to object to tentative ruling or otherwise alert
trial court of itsfailure to expressly rule on an issue results in forfeiture of issue on
appeal].)

       B. Final Judgmentfor Purposes ofApplication ofthe Doctrine ofRes Judicata
       We next conclude that the dismissal ofthe appeal in Parkford I on the ground of

mootness did not constitute a final judgment"on the merits" for the purpose of applying
the doctrine ofres judicata. Thus, the trial court erred in determining that the present
lawsuit is barred by the principles of claim and issue preclusion and reversal is required.



                                              10
          Case: 24-2256       Document: 11        Page: 29    Filed: 09/13/2024




       As noted ante^ claim preclusion requires a final judgment on the merits, while
issue preclusion requires a final adjudication of an issue. {Samara, supra, 5 Cal.Sth at
p. 327; DKNHoldings, supra, 61 Cal.4th at pp. 824-825.) A judgment or adjudication is
on the merits if the substance ofthe claim or issue is tried and determined. (See

Johnson v. City ofLoma Linda (2000)24 Cal.4th 61, 77; Citizensfor Open
Government v. City ofLodi(2012)205 Cal.App.4th 296, 325; Federation ofHillside &
Canyon Assns. v. City ofLos Angeles(2004) 126 Cal.App.4th 1180, 1203.) A trial court
judgment determined to be moot on appeal and dismissed has not been fully litigated, as
appellate review ofthe merits was never completed. {Coalitionfor a Sustainable Future
in Yucaipa v. City^ ofYucaipa (2011) 198 Cal.App.4th 939,943.)

       As set forth ante, in Parkford I the trial court concluded that the County did not
violate CEQA because the issuance ofthe challenged building permit was a ministerial
action. {Parkford I, supra, 54 Cal.App.5th at p. 720.) The trial court further concluded
that Parkford's Planning and Zoning Law claim was barred by the 90-day statute of
limitations set forth in Government Code section 65009. {Parkford I, at p. 721.) In
reaching these conclusions, the trial court did not determine whether Parkford's claims
were moot due to the completion of the most recent expansion of Treelake Storage, as
argued by real parties and defendants. {Id. at pp. 720-721.) However, an appeal
challenging the trial court's conclusions was filed by Parkford and ultimately decided by
this court solely on the ground of mootness(see id. at pp. 722-725), a purely procedural
or technical ground that is distinct from an actual determination of the merits. (See Assn.

ofIrritated Residents v. Dept. ofConservation (2017) 11 Cal.App.5th 1202, 1220, 1224
[action dismissed due to mootness is not on the merits].) Accordingly, because the
appeal in Parlrford I    not disposed of"on the merits," neither claim nor issue
preclusion apply. (See id. at p. 1226 [claim preclusion does not apply when prior
judgment is based on the ground of mootness].)



                                             11
          Case: 24-2256        Document: 11        Page: 30     Filed: 09/13/2024




       We find unpersuasive real parties' contention that the judgment in Parlrford I
"remains 'on the merits' despite dismissal of the appeal as moot." In support of their
position, real parties cite cases standing for the proposition that the involuntary dismissal
of an appeal normally leaves the judgment intact (see e.g., In re Jasmon O.(1994)
8 Cal.4th 398,413), and that if an appellate court wishes to avoid this result, "it can do so
by reversing the judgment solely for the purpose of restoring the matter to the jurisdiction
of the superior court with directions for that court to dismiss the action," as "[tjhis
approach disposes ofthe case, not merely the proceeding that brought it to the appellate
court." {County ofFresno v. Shelton (1998)66 Cal.App.4th 996, 1005, citing Paul v.
Milk Depots, Inc.(1964)62 Cal.2d 129, 134 {Paul)[describing limited reversal
procedure].) We do not disagree with this basic proposition; here the original judgment
remains intact despite the dismissal of the appeal in ParJford /. However, that is not the
dispositive question in this case. As we have explained, the question we must answer in
this appeal is whether the judgment is final "on the merits" for purposes of res judicata,
where the merits of the trial court's rulings evaded appellate review despite their being
argued on appeal. Simply put, an appeal was taken that challenged trial court rulings, but
the validity of those rulings was never adjudicated on appeal.
       At oral argument, counsel for real parties argued that he specifically asked the
Parkford I panel to affirm the judgment and dismiss only the appeal in that case. We do
not dispute that this approach was requested by counsel both in the briefing and at oral
argument in Parlrford I. However, the Parkford I panel did not explicitly affirm the

judgment on its merits when it dismissed the appeal as moot. This disposition resulted in
the trial court's judgment remaining intact; however, as we have explained, that is not the
dispositive issue here. We reject the real parties' suggestion that the judgment in
Parlrford I has preclusive effect because this court, in disposing ofthe appeal in that case,
did not follow the procedure described by our Supreme Court in Paul,supra,62 Cal.2d at
page 134. First, Paul was not a preclusion case. Second, in Paul, the regulation that was

                                              12
          Case: 24-2256        Document: 11       Page: 31     Filed: 09/13/2024




found unconstitutional by the trial court had been superseded by a new regulation. {Paul,
supra,62 Cal.2d at pp. 131-132, 134.) Under those circumstances,"since the basis for
thatjudgment has now disappeared," our Supreme Court found it proper to reverse the
judgment and remand with directions to dismiss the proceeding in order to avoid
"'impliedly' affirming" ajudgment holding a regulation unconstitutional. {Id. at p. 134.)
Paul did not hold that absent a similar disposition, a dismissal for mootness results in
appellate affirmance ofthe underlying judgment"on the merits" for purposes of res
judicata. In short, Paul does not establish that judgment in Parlrford I has preclusive
effect in subsequent litigation.
       Our conclusion is consistent with our Supreme Court's recent decision in Samara.
There, our high court held that, for purposes of the law of preclusion,"a ground reached
by the trial court and properly challenged on appeal, but not embraced by the appellate
court's decision, should not affect the judgment's preclusive effect." {Samara, supra,
5 Cal.Sth at p. 334.) Instead, the preclusive effect of the judgment should be evaluated as
though the trial court had not reached the issue that the appellate court did not reach. {Id.
at pp. 326, 334,338 [refusing to give preclusive effect to a merits-based trial court
determination that evaded appellate review, explaining that this "approach aligns far
better with the recognition that although trial court decisions are often thorough,
thoughtful, and correct, litigants should be afforded more procedural fairness before
being bound by all aspects of a trial court's challenged determination"].)^



^ We note that the Samara court identified a limitation on its holding: "We caution ...
that we take no position on the significance of an independently sufficient alternative
ground reached by the trial court and not challenged on appeal." {Samara, supra,
5 Cal.Sth at p. 337.) Our Supreme Court made this cautionary comment after explaining
that "[c]ourts have understood the'"necessarily decided"'prong to 'require[] only that
the issue not have been "entirely unnecessary" to the judgment in the initial proceeding'
[citation]—leaving room for a decision based on two grounds to be preclusive as to
 both." {Id. at p. 327)

                                             13
           Case: 24-2256       Document: 11        Page: 32     Filed: 09/13/2024




       In Samara, our Supreme Court overruled People v. Skidmore (1865)27 Gal. 287,
which gave preclusive effect to a trial court determination that evaded appellate review,
and disapproved its progeny, such as Bank ofAmerica v. McLaughlin Land & Livestock
Co.(1940)40 Cal.App.2d 620. {Samara, supra, 5 Gal.5th at pp. 329-330, 337-338.) In
doing so, the Samara court rejected the so-called traditional rule announced in Skidmore
and followed the modem mle expressed in the Second Restatement. {Samara, at pp. 331-
338.) This was in accord with more recent appellate court authority. (See Newport
Beach Country Club, Inc. v. Founding Members ofNewport Beach Country Club (2006)
140 Gal.App.4th 1120, 1123, 1126-1132 [rejecting Skidmore and following the modem
or Second Restatement rule, which provides that"'"[i]f the appellant [5/c] court upholds
one of[two] determinations as sufficient and refuses to consider whether or not the other
is sufficient and accordingly affirms the judgment, the judgment is [only] conclusive as to
the first determination"'"]; see also Zevnik v. Superior Court(2008) 159 Gal.App.4th
76, 83-85; Butcher v. Truck Ins. Exchange(2000)77 Gal.App.4th 1442, 1446-1447,
1460.) In concluding that neither claim nor issue preclusion applied, the Samara court
assumed, without deciding its correctness, that a decision on timeliness grounds (i.e.,
statute of limitations) is not a decision on the merits for purposes of the law of preclusion.
{Samara, at p. 338 [noting that the issue was undisputed].) Thus, where, as here, an
appellate court disposes of an appeal solely on a procedural or technical ground that does
not reach the merits of the underlying controversy, such as mootness, the judgment does
not have preclusive effect in subsequent litigation. (See ibid, [holding that neither claim
nor issue preclusion apply where the trial court mles on both the merits and a procedural
ground in the first suit, but the appellate court affirms based solely on the procedural
ground, because it is not"a 'final judgment on the merits,'"as the merits were not
"'necessarily decided in the first suit,' or even 'decided' at all"].)
        Other authority decided prior to Samara agrees that ajudgment becoming final
after an appeal is dismissed as moot does not have preclusive effect in a subsequent

                                              14
          Case: 24-2256        Document: 11        Page: 33    Filed: 09/13/2024




action because the judgment does not constitute a final judgment "on the merits" of the
controversy. (Chamberlin v. City ofPalo Alto (1986) 186 Cal.App.3d 181, 187; see also
Minor v. Lapp(1963)220 Cal.App.2d 582, 584; Rest.2d Judgments(1982)§ 28.) This
authority is consistent with Samara, and we agree with it. Real parties' attempts to
distinguish these cases are not persuasive.
       We acknowledge that one appellate court appears to have disagreed as to whether
such a judgment may be considered a final judgment"on the merits" for purposes ofthe
law of preclusion. {Lyons v. Security Pacific Nat. Bank(1995)40 Cal.App.4th 1001,
1016-1018 [concluding that the dismissal of an appeal on the ground of mootness that
was not made without prejudice results in a final judgment for purposes of claim
preclusion].) Real parties relied on Lyons in the trial court and also in their briefing on
this appeal. Our reading ofLyons indicates that although the Lyons court purported to
find the judgment final for purposes of res judicata, its analysis(including its attempts to
distinguish Chamberlin v. City ofPalo Alto, supra, 186 Cal.App.3d at page 187 and
Minor v. Lapp, supra, 220 Cal.App.2d at page 584)centers on the issue of finality of a
trial court judgment in general. The relevant portion ofthe opinion does not distinguish

or even reference the "on the merits" requirement of res judicata, and expresses
disagreement with a hypothetical argument that dismissal of an appeal based on mootness
precludes ajudgment from ever becoming final. {Lyons, at p. 1018.) As we have
explained ante, the lack of finality on the merits for purposes of application ofthe
doctrine of res judicata is not the same thing as the lack of a final judgment in any given
case or controversy. In any event, Lyons predates Samara and, to the extent Lyons

supports the real parties' contention that Parkford I constitutes a final judgment "on the

merits," we decline to follow it for the reasons previously stated.




                                              15
            Case: 24-2256     Document: 11       Page: 34     Filed: 09/13/2024




       In sum, we conclude that the present lawsuit is not barred by the law of preclusion.
Neither claim nor issue preclusion apply because Parhford I does not constitute a final
judgment"on the merits." Indeed, no merits-based determination was made in Parlrford
/, as the appeal in that case was dismissed on the ground of mootness.^
                                     DISPOSITION

       The judgment is reversed. The trial court shall vacate the order denying
Parkford's first amended petition for writ of mandate and enter an order denying the
motion for judgment on the pleadings filed by real parties in interest and joined by
defendants. Parkford shall recover its costs on appeal. (Cal. Rules of Court, rule
8.278(a).)




                                                       /s/
                                                 Duarte, J.



We concur:




      /s/
Robie, Acting P. J.



      /s/
Earl, J.




^ In light of our conclusions, we need not and do not consider the parties' remaining
arguments.


                                            16
Case: 24-2256   Document: 11   Page: 35   Filed: 09/13/2024


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                                                 SEP 1 3 202'!

                                          United States Court of Appeal;
                                              For the Federal Circuit




                Exhibit D
          Case: 24-2256         Document: 11         Page: 36      Filed: 09/13/2024

                                                                           U^.Departmeot of Homeland Secority
                                                                           Washtn^on,DC 20528

                                                                                       Homeland
                                                                                       Security
                                                                                       Science and Technology




                                        February 17,2016

Larry Golden
740 Woodruff Road 1102
Greenville, South Carolina 29607

Re: FOIA Request 2016-STFO-00021

Dear Mr. Golden:


This is the acknowledgement and final response to your Freedom ofInformation Act(FOIA)
request to the Department of Homeland Security(DHS),Science and Technology Directorate
(S&T)dated October 26,2015,and received by this ofRce on February 2,2016. You submitted
4 FOIA requests seeking numerous synopsis descriptions, published date,company awarded,
type of award,total amount awarded, description of products or services, and specifications of
piquets for solicitation number BAA 07-10. We have aggregated all 4 of your requests for
processing.

We conducted a comprehensive search for records within S&T's Office ofProcurement
Operations that would be responsive to your request. A search ofthe procurement database for
the key terms solicitation number BAA 07-10 was completed. Unfortunately, we were unable to
locate or identify any responsive records.

While an adequate search was conducted, you have the right to appeal this determination that no
records exist within S&T that would be responsive to your request. Should you wish to do so,
you must send your appeal and a copy ofthis letter, within 60 days ofthe date ofthis letter, to:
Associate General Counsel(General Law), Mailstop 0655, U.S. Department ofHomeland
Security, Washington,DC 20528,following the procedures outlined in the DHS FOIA
regulations at 6 C.F.R.§ 5.9. Your envelope and letter should be marked **FOIA Appeal."
Copies ofthe FOIA and DHS regulations are available at www.dhs.gov/foia.

The Office of Government Information Services(OGIS)also mediates disputes between FOIA
requesters and Federal agencies as a non-exclusive alternative to litigation. If you are requesting
access to your own records(which is considered a Privacy Act request), you should know that
OGIS does not have the authority to handle requests made under the Privacy Act of 1974. If you
wish to contact OGIS, you may email them at ogis@nara.gov or call 1-877-684-6448.
          Case: 24-2256        Document: 11        Page: 37     Filed: 09/13/2024




Provisions ofthe FOIA allow us to recover part ofthe cost ofcomplying with your request. In
this instance, because the cost is below the $14 minimum,there is no charge.

If you need to contact our office conceming this request, please contact stfoia@hq dbs pov or
(202)254-6342 and refer to 2016-STFO-00021.


                                            Sincerely,



                                            Katrina Hagan
                                            FOIA Officer
        Case: 24-2256          Document: 11         Page: 38      Filed: 09/13/2024



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                                                                          Washington.DC 20528


                                                                                   . Homeland
                                                                                      Security
                                                                                      Science andlbchnology




                                        February 1,2016

Larry Golden
740 WoodrufrRoad #1102
Greenville, South Carolina 29607


Re: 2016-STFO-00023


Dear Mr.Golden:


This acknowledges receipt of your October 26,2015, Freedom ofInformation Act(FOIA)
request to the Department of Homeland Security(DHS),Science and Technology Directorate
(S&T)for the synopsis, award amount, posted date, company awarded,type ofaward,total
amount awarded, description ofproducts or services, and specification of products related to
Long Range Broad Agency Announcement(LRBAA)08-01. You are requesting a fee waiver
and expedited processing. Your request was received in this office on January 27,2016.

Due to the increasing number ofFOIA requests received by this office, we may encounter some
delay in processing your request. Per Section 5.5(a) ofthe DHS FOIA regulations,6 C.F.R. Part
5, the Department processes FOIA requests according to their order ofreceipt. Although DHS'
goal is to respond within 20 business days ofreceipt of your request, the FOIA does permit a 10-
day extension ofthis time period. As your request seeks numerous documents that will
necessitate a thorough and wide-ranging search, DHS will invoke a 10-day extension for your
request, as allowed by Title 5 U.S.C.§ 552(a)(6)(B). If you care to narrow the scope of your
request, please contact our office. We will make every effort to comply with your request in a
timely manner.

As it relates to your fee waiver request, 1 have reviewed your letter thoroughly and have
determined that you have not presented a convincing argument that you are entitled to a blanket
waiver offees.


The DHS FOIA Regulations,6 CFR § 5.1 l(k)(2), set forth six factors to examine in determining
whether the applicable legal standard for a fee waiver has been met. We will consider these
factors in our evaluation of your request for a fee waiver:
       (1) Whether the subject ofthe requested records concerns *the operations or activities of
       the government;"
        Case: 24-2256           Document: 11          Page: 39       Filed: 09/13/2024




       (2) Whether the disclosure is 'Mikely to contribute** to an understanding of government
       operations or activities;
       (3)Whether disclosure ofthe requested information will contribute to the understanding
       ofthe public at large, as opposed to the individual understanding ofthe requestor or a
       narrow segment ofinterested persons;
       (4) Whether the contribution to public understanding of government operations or
       activities will be "significant;"
       (5) Whether the requester has a commercial interest that would be furthered by the
       requested disclosure; and
       (6) Whether the magnitude ofany identified commercial interest to the requestor is
       sufficiently large in comparison with the public interest in disclosure, that disclosure is
       primarily in the commercial interest ofthe requestor.

As a requester, you bear the burden under the FOIA ofshowing that the fee waiver requirements
have been met. Based on my review ofyour October 26,2015 letter and for the reasons stated
herein, I have determined that your fee waiver request is deficient because your request failed to
meet factors 3 and 4 set forth above. Since your request for a fee waiver has failed to satisfy
each ofthe required factors, I am denying your fee waiver request.

As it relates to your request for expedited treatment, your request is denied.

Under the DHS FOIA regulation, expedited processing ofa FOIA request is warranted ifthe
request involves "circumstances in which the lack ofexpedited treatment could reasonably be
expected to pose an imminent threat to the life or physical safety ofan individual,** 6 C.F.R.§
5.5(d)(i)(i), or"an urgency to inform the public about an actual or alleged federal government
activity, if made by a person primarily engaged in disseminating information,** 6 C.F.R. §
5.5(d)(l)(ii). Requesters that seek expedited processing must submit a statement explaining in
detail the basis for the request, and that statement must be certified by the requester to be true
and correct 6 C.F.R. § 5.5(d)(3).

Your request for expedited processing is denied because you do not qualify for either category.
You failed to demonstrate a particular urgency to inform the public about the government
activity involved in the request beyond the public*s right to know about government activity
generally. Your letter was conclusory in nature and did not present any facts to justify a grant of
expedited processing under the applicable standards.

Provisions ofthe Act allow us to recover part ofthe cost ofcomplying with your request. We
shall charge you for records in accordance with the DHS Interim FOIA regulations as they apply
to non-commercial requestors. As a non-commercial requestor you will be charged 10-cents a
page for duplication, although the first 100 pages are free, as are the first two hours ofsearch
time, after which you will pay the per quarter-hour rate ($4.00,$7.00, $10.25)ofthe searcher.
We will construe the submission of your request as an agreement to pay up to $25.00. You will
be contacted before any further fees are accrued.




                                                                           www.dlis.gov
        Case: 24-2256         Document: 11         Page: 40       Filed: 09/13/2024




If you deem the decision to deny your blanket fee waiver or expedited treatment of your request an
adverse determination, you may exercise your appeal rights. Should you wish to do so, you must
send your appeal and a copy ofthis letter within 60 days ofreceipt ofthis letter to: Associate
General Counsel(General Law), U.S. E>epartment ofHomeland Security, Washington, DC 20528,
following the procedures outlined in Subpart A,Section 5.9, ofthe DHS Regulations. Your
envelope and letter should be marked'Treedom of Information Act Appeal." Copies ofthe DHS
regulations are available at: www.dhs.gov/foia.

We have queried the appropriate office ofS&T for responsive records. Ifany responsive records
are located,they will be reviewed for determination ofreleasability. Please be assured that one of
the processors in our office will respond to your request as expeditiously as possible. We
appreciate your patience as we proceed with your request.

Your request has been assigned reference number 2016-STFO-00023. Please refer to this
identifier in any future correspondence and to check the status ofyour request at
http://www.dhs.tgov/foia-status. You may contact this office at stfoia@hQ.dhs.igov or(202)254-
8801.


                                            Sincerely,




                                            Gina Goldblatt
                                            Government Information Specialist




                                                                       WWW.dll8.gov
         Case: 24-2256         Document: 11         Page: 41       Filed: 09/13/2024

                                                                                    Homeland
                                                                                    Security
                                                                                    Science andl^hnology




                                        Febraary 1,2016

Larry Golden
740 Woodruff Road #1102
Greenville, South Carolina 29607


Re: 2016-STF0.00024


Dear Mr. Golden:


This acknowledges receipt of your October 26,2015,Freedom oflnformation Act(FOIA)
request to the Department of Homeland Security(DBS),Science and Technology Directorate
(S&T)for the synopsis, award amount,posted date, company awarded,type ofaward,total
amount awarded, description of products or services, and specification of products related to
Broad Agency Announcement(BAA)09-15. You are requesting a fee waiver and expedited
processing. Your request was received in this office on January 27,2016.

Due to the increasing number of FOIA requests received by this office, we may encounter some
delay in processing your request. Per Section 5.5(a)ofthe DBS FOIA regulations,6 C.F.R. Part
5,the Department processes FOIA requests according to their order ofreceipt. Although DBS'
goal is to respond within 20 business days of receipt of your request, the FOIA does permit a 10-
day extension ofthis time period. As your request seeks numerous documents that will
necessitate a thorough and wide-ranging search, DBS will invoke a 10-day extension for your
request,as allowed by Title 5 U.S.C.§ 552(a)(6)(B). If you care to narrow the scope of your
request, please contact our office. We will make every effort to comply with your request in a
timely manner.

As it relates to your fee waiver request, I have reviewed your letter thoroughly and have
determined that you have not presented a convincing argument that you are entitled to a blanket
waiver offees.

The DBS FOIA Regulations,6 CFR § 5.1 l(k)(2), set forth six factors to examine in determining
whether the applicable legal standard for a fee waiver has been met. We will consider these
Actors in our evaluation of your request for a fee waiver:
       (1) Whether the subject ofthe requested records concerns **the operations or activities of
       the government;"
       (2) Whether the disclosure is *Mikely to contribute" to an understanding ofgovernment
       operations or activities;
       (3) Whether disclosure ofthe requested information will contribute to the understanding
       ofthe public at large, as opposed to the individual understanding ofthe requestor or a
       narrow segment ofinterested persons;
        Case: 24-2256           Document: 11          Page: 42       Filed: 09/13/2024




       (4) Whether the contribution to public understanding ofgovernment operations or
       activities will be "significant;"
       (5) Whether the requester has a commercial interest that would be furthered by the
       requested disclosure; and
       (6) Whether the magnitude of any identified commercial interest to the requestor is
       sufficiently large in comparison with the public interest in disclosure, that disclosure is
       primarily in the commercial interest ofthe requestor.

As a requester, you bear the burden under the FOIA ofshowing that the fee waiver requirements
have been met. Based on my review ofyour October 26,2015 letter and for the reasons stated
herein, I have determined that your fee waiver request is deficient because your request foiled to
meet factors 3 and 4 set forth above. Since your request for a fee waiver has failed to satisfy
each ofthe required factors, I am denying your fee waiver request.

As it relates to your request for expedited treatment, your request is denied.

Under the DHS FOIA regulation, expedited processing of a FOIA request is warranted ifthe
request involves "circumstances in which the lack ofexpedited treatment could reasonably be
expected to pose an imminent threat to the life or physical safety of an individual,** 6 C.F.R. §
5.5(d)(l)(i), or"an urgency to inform the public about an actual or alleged federal government
activity, if made by a person primarily engaged in disseminating information,** 6 C.F.R.§
5.5(d)(l)(ii). Requesters that seek expedited processing must submit a statement explaining in
detail the basis for the request, and that statement must be certified by the requester to be true
and correct. 6 C.F.R.§ 5.5(d)(3).

Your request for expedited processing is denied because you do not qualify for either category.
You failed to demonstrate a particular urgency to inform the public about the government
activity involved in the request beyond the public's right to know about government activity
generally. Your letter was conclusory in nature and did not present any facts to justify a grant of
expedited processing under the applicable standards.

Provisions ofthe Act allow us to recover part ofthe cost ofcomplying with your request. We
shall charge you for records in accordance with the DHS Interim FOIA regulations as they apply
to non-commercial requestors. As a non-commercial requestor you will be charged 10-cents a
page for duplication, although the first 100 pages are free, as are the first two hours ofsearch
time, after which you will pay the per quarter-hour rate($4.00,$7.00,$10.25)ofthe searcher.
We will construe the submission of your request as an agreement to pay up to $25.00. You will
be contacted before any further fees are accrued.

If you deem the decision to deny your blanket fee waiver or expedited treatment of your request an
adverse determination, you may exercise your appeal rights. Should you wish to do so, you must
send your appeal and a copy ofthis letter within 60 days ofreceipt ofthis letter to: Associate
General Counsel(General Law), U.S. Department ofHomeland Security, Washington, DC 20528,
following the procedures outlined in Subpart A, Section 5.9, ofthe DHS Regulations. Your
envelope and letter should be marked "Freedom ofInformation Act Appeal.*' Copies ofthe DHS
regulations are available at: www.dhs.gov/foia.
        Case: 24-2256          Document: 11         Page: 43       Filed: 09/13/2024




We have queried the appropriate office ofS&T for responsive records. Ifany responsive records
are located,they will be reviewed for determination of reieasability. Please be assured that one of
the processors in our office will respond to your request as expeditiously as possible. We
appreciate your patience as we proceed with your request.

Your request has been assigned reference number 2016-STFO-00024. Please refer to this
identifier in any future correspondence and to check the status of your request at
http://www.dhs.gov/foia-status. You may contact this office at stfoia@hQ.dhs.gov or(202)254-
8801.

                                             Sincerely,



                                             Gina Goldblatt
                                             Government Information Specialist
            Case: 24-2256        Document: 11        Page: 44      Filed: 09/13/2024

                                                                                      Department of Homeland Security
                                                                                                Washington, DC 20S28



                                                                                            Homeland
                                                                                     P Security
                                                                                            Science and Technology




                                         January 19,2016


Larry Golden
740 WoodruffRcad 1102
Greenville, South Carolina 29607

Re: 2016-STFO-00020

Dear Mr. Golden:

This letter is the acknowledgement and final response to your October 26,2015 Freedom of
Information Act(FOIA)request addressed to the Department of Homeland Security(DHS)
Science and Technology Directorate(S&T). You submitted 4 FOIA requests seeking numerous
synopsis descriptions, published date,company awarded,type ofaward,total amount awarded,
description of products or services, and specifications ofproducts for BAA 07-02A. We have
aggregated all 4 of your requests for processing. Your request was received in this office on
January 11,2016.

Pursuant to 5 U.S.C. §§552(a)(l)and (a)(2), DHS need not make available under the FOIA
records that are published elsewhere. Information responsive to your request can be accessed
online at
https://www.fbo.gov/index?s=ODportunitv&mode=form&id=3937efd7f95fDc773b9a7bc99eab89
e8&tab=core& cview=0

If you deem this advisement an adverse determination, you may exercise your appeal rights.
Should you wish to do so, you must send your appeal and a copy of this letter, within 60 days of
the date ofthis letter, to: Associate General Counsel(General Law), Mail Stop 0655 U.S.
Department of Homeland Security, Washington, DC 20528,following the procedures outlined in
the DHS FOIA regulations at6 C.F.R. § 5.9. Your envelope and letter should be marked "FOIA
Appeal." Copies ofthe FOIA and DHS regulations are available at www.dhs.gov/foia.

The Office of Government Information Services(OGIS)also mediates disputes between FOIA
requesters and Federal agencies as a non-exclusive alternative to litigation. If you are requesting
access to your own records(which is considered a Privacy Act request), you should know that
OGIS does not have the authority to handle requests made under the Privacy Act of 1974. If you
wish to contact OGIS, you may email them at ogis@nara.gov or call 1-877-684-6448.
          Case: 24-2256         Document: 11       Page: 45       Filed: 09/13/2024




Provisions ofthe FOIA allow us to recover part ofthe cost ofcomplying with your request. In
this instance, because the cost is below the $14 minimum,there is no charge.

If you need to contact our office concerning this request, please contact stfoia@hQ.dhs.gov or
(202)254-6342 and refer to 2016-STFO-00020.

                                             Sincerely,



                                             Katrina Hagan
                                             FOIA Officer
         Case: 24-2256          Document: 11          Page: 46       Filed: 09/13/2024



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                                                                                       Homeland
                                                                                       Security
                                                                                       Science andlbchnology




                                         February 1,2016

Larry Goiden
740 WoodrufifRoad #1102
Greenville, South Carolina 29607

Re: 2016-STF0.00017

Dear Mr. Golden:

This is the final response to your Freedom ofInformation Act(FOIA)request to the Department
ofHomeland Security(DHS), Science and Technology Directorate(S&'Q dated
October 26,2015 and received by this office on December 28,2015. You are seeking the
synopsis, award amount, posted date, company awarded,type ofaward,total amount awarded,
description of products or services, and specification of products related to Broad Agency
Announcement(BAA)09-17.

We conducted a comprehensive search for records within S&T*s Office ofProcurement
Operations(OPO)that would be responsive to your request. A search ofthe Small Business
Innovation Research(SBIR)database for the key terms solicitation number 09-17 was
completed. Unfortunately, we were unable to locate or identify any responsive records.

While an adequate search was conducted, you have the right to appeal this determination that no
records exist within S&T that would be responsive to your request. Should you wish to do so,
you must send your appeal and a copy ofthis letter, within 60 days ofthe date ofthis letter, to:
Associate General Counsel(General Law), Mailstop 0655, U.S. Department of Homeland
Security, Washington, DC 20528,following the procedures outlined in the DHS FOIA
regulations at 6 C.F.R. § 5.9. Your envelope and letter should be marked "FOIA Appeal."
Copies ofthe FOIA and DHS regulations are available at www.dhs.gov/foia.

The Office ofGovemment Information Services(OGIS)also mediates disputes between FOIA
requesters and Federal agencies as a non-exclusive alternative to litigation. If you are requesting
access to your own records(which is considered a Privacy Act request), you should know that
OGIS does not have the authority to handle requests made under the Privacy Act of 1974. If you
wish to contact OGIS, you may email them at ogis@.nara.gov or call 1-877-684-6448.

Provisions ofthe FOIA allow us to recover part ofthe cost ofcomplying with your request. In
this instance, because the cost is below the $14 minimum,there is no charge.
        Case: 24-2256          Document: 11         Page: 47       Filed: 09/13/2024




If you need to contact our office concerning this request, please contact stfoia@hq.dhs.gov or
(202)254-8801 and refer to 2016-STFO-00017.


                                             Sincerely,

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                                            Gina Goldblatt
                                            Government Information Specialist
            Case: 24-2256           Document: 11         Page: 48       Filed: 09/13/2024



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                                             February 3,2016

i   Larry Golden
1   740 WoodnifrRoad #1102
    Greenville, South Carolina 29607

    Re: 2016-STFO-00018


    Dear Mr. Golden:


    This is the final response to your Freedom ofInformation Act(FOIA)request to the Department
    ofHomeland Security(DHS), Science and Technology Directorate(S&T)dated
    October 26,2015 and received by this office on January 8,2016. You are seeking the synopsis,
    award amount, posted date, company awarded,type ofaward,total amount awarded, description
    of products or services, and specification of products related to Broad Agency Announcement
    (BAA)12-102.

    We conducted a comprehensive search for records within S&T's Office ofProcurement
    Operations(OPO)that would be responsive to your request. A search ofthe Small Business
    Innovation Research(SBIR)database for the key terms solicitation number 12-102 was
    completed. Unfortunately, we were unable to locate or identify any responsive records.

    While an adequate search was conducted, you have the right to appeal this determination that no
    records exist within S&T that would be responsive to your request. Should you wish to do so,
    you must send your appeal and a copy ofthis letter, within 60 days ofthe date ofthis letter, to:
    Associate General Counsel(General Law), Mailstop 0655, U.S. Department of Homeland
    Security, W^hington,DC 20528,following the procedures outlined in the DHS FOIA
    regulations at 6 C.F.R. § 5.9. Your envelope and letter should be marked "FOIA Appeal."
    Copies ofthe FOIA and DHS regulations are available at www.dhs.gov/foia.

    The Office ofGovernment Information Services(OGIS)also mediates disputes between FOIA
    requesters and Federal agencies as a non-exclusive alternative to litigation. If you are requesting
    access to your own records(which is considered a Privacy Act request), you should know that
    OGIS does not have the authority to handle requests made under the Privacy Act of 1974. If you
    wish to contact OGIS, you may email them at ogis@nara.gov or call 1-877-684-6448.

    Provisions ofthe FOIA allow us to recover part ofthe cost ofcomplying with your request. In
    this instance, because the cost is below the $14 minimum,there is no charge.
        Case: 24-2256          Document: 11         Page: 49       Filed: 09/13/2024




If you need to contact our office concerning this request, please contact stfoia@hq.dhs.gov or
(202)2S4-8801 and referto2016-STFO-00018.


                                             Sincerely,




                                            Gina Goldblatt
                                             Government Information Specialist
           Case: 24-2256         Document: 11        Page: 50      Filed: 09/13/2024

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                                                                                       Homeland
                                                                                       Security
                                                                                       Science and Technology

                                        February 16,2016

Larry Golden
740 Woodnifr Road #1102
Greenville, South Carolina 29607

Re: FOIA Request 2016-STFO-00024

Dear Mr. Golden:


This is in hirther response to your Freedom ofInformation Act(FOIA)request to the
Department of Homeland Security(DHS),Science and Technology Directorate(S&T)on
October 26,2015. You submitted 4 FOIA requests seeking numerous synopsis descriptions,
published date, company awarded,type ofaward, total amount awarded, description of products
or services, and specifications ofprc^ucts for BAA 09-15. We have aggregated all 4 of your
requests for processing.

We conducted a comprehensive search for records within S&T's Office ofProcurement
Operations(OPO)that would be responsive to your request A search ofthe Small Business
Iimovation Research(SBIR)database for the key terms solicitation number 09-15 was
completed. Unfortunately, we were unable to locate or identify any responsive records.

While an adequate search was conducted, you have the right to appeal this determination that no
records exist within S&T that would be responsive to your request. Should you wish to do so,
you must send your appeal and a copy ofthis letter, within 60 days ofthe date ofthis letter, to:
Associate General Counsel(Genera! Law), Mailstop 0655, U.S. Department ofHomeland
Security, Washington,DC 20528,following the procedures outlined in the DHS FOIA
regulations at6 C.F.R. § 5.9. Your envelope and letter should be marked "FOIA Appeal."
Copies ofthe FOIA and DHS regulations are available at www.dhs.gov/foia.

The Office of Government Information Services(OGIS)also mediates disputes between FOIA
requesters and Federal agencies as a non-exclusive alternative to litigation. If you are requesting
access to your own records(which is considered a Privacy Act request), you should know that
OGIS does not have the authority to handle requests made under the Privacy Act of 1974. If you
wish to contact OGIS, you may email them at ogis@nara.gov or call 1-877-684-6448.

Provisions ofthe FOIA allow us to recover part ofthe cost ofcomplying with your request. In
this instance, because the cost is below the $14 minimum,there is no charge.

During our search for records, I have determined that the information you are seeking is under
the purview ofthe Office of Secretary of Defense. Therefore, I am transferring the request to the
          Case: 24-2256        Document: 11        Page: 51     Filed: 09/13/2024




FOIA Officer for the OSD/JS FOIA Requester Service Center Office ofFreedom ofInformation
1155 Defense Pentagon Washington,DC 20301-1155. The telephone number is 1-866-574-4970.

If you need to contact our office again about this matter, please refer to 2016-STFO-00024. This
office can be reached at stfoia@hq.dhs.gov or(202)254-8801.

                                            Sincerely,




                                            Oina Goldblatt
                                            Government Information Specialist
        Case: 24-2256           Document: 11         Page: 52        Filed: 09/13/2024



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                                                                            Washington. DC 20528


                                                                                        Homeland
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                                        February 19,2016

Larry Golden
740 WoodrufiFRoad #1102
Greenville, South Carolina 29607

Re: 2016-STFa4)0023

Dear Mr. Golden:

This is the final response to your Freedom ofInformation Act(FOIA)request to the Department
of Homeland Security(DHS),Science and Technology Directorate(S&T)dated
October 26,2015 and received by this office on January 27,2016. You are seeking the synopsis,
award amount, posted date, company awarded,type ofaward,total amount awarded, description
ofproducts or services, and specification of products related to Long Range Broad Agency
Announcement(LRBAA)08-01. We have aggregated all 8 of your requests for processing.

We conducted a comprehensive search for records within S&T*s Office ofProcurement
Operations(OPO)that would be responsive to your request. A search ofthe Small Business
Innovation Research(SBIR)database for the key terms solicitation number 08-01 was
completed. Unfortunately, we were unable to locate or identify any responsive records.

While an adequate search was conducted, you have the right to appeal this determination that no
records exist within S&T that would be responsive to your request. Should you wish to do so,
you must send your appeal and a copy ofthis letter, within 60 days ofthe date ofthis letter, to:
Associate General Counsel(General Law), Mailstop 0655, U.S. Department ofHomeland
Security, Washington, DC 20528,following the procedures outlined in the DHS FOIA
regulations at 6 C.F.R.§ 5.9. Your envelope and letter should be marked "FOIA Appeal.**
Copies ofthe FOIA and DHS regulations are available at www.dhs.gov/foia.

The Office ofGovernment Information Services(OGIS)also mediates disputes between FOIA
requesters and Federal agencies as a non-exclusive alternative to litigation. If you are requesting
access to your own records(which is considered a Privacy Act request), you should know that
OGIS does not have the authority to handle requests made under the Privacy Act of 1974. If you
wish to contact OGIS, you may email them at ogis@nara.gov or call 1-877-684-6448.

Provisions ofthe FOIA allow us to recover part ofthe cost ofcomplying with your request. In
this instance, because the cost is below the $14 minimum,there is no charge.
        Case: 24-2256          Document: 11         Page: 53       Filed: 09/13/2024




If you need to contact our office concerning this request, please contact stfoia@hQ.dhs.gov or
(202)254-8801 and refer to 2016-STFO-00023.


                                             Sincerely,




                                            Gina Goldblatt
                                            Government Information Specialist
         Case: 24-2256         Document: 11        Page: 54       Filed: 09/13/2024


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                                        January 12,2016


Larry Golden
740 WoodruffRoad #1102
Greenville, South Carolina 29607


Re; 2016<^TFO-00011


Dear Mr. Golden:

This acknowledges receipt of your October 26,2015, Freedom ofInformation Act(FOIA)
request to the Department of Homeland Security(DBS),Science and Technology Directorate
(S&T)for the synopsis, award amount, posted date, company awarded,type ofaward,total
amount awarded, description of products or services, and specification of products related to
LRBAA 11-03. We have aggregated all 12 of your requests for LRBAA 11-03. You are
requesting a fee waiver and expedited processing. Your request was received in this office on
January 8,2016.

Due to the increasing number of FOIA requests received by this office, we may encounter some
delay in processing your request. Per Section 5.5(a)ofthe DBS FOIA regulations,6 C.F.R. Part
5,the Department processes FOIA requests according to their order of receipt. Although DBS'
goal is to respond within 20 business days ofreceipt of your request, the FOIA does permit a 10-
day extension ofthis time period. As your request seeks numerous documents that will
necessitate a thorough and wide-ranging search, DBS will invoke a 10-day extension for your
request, as allowed by Title 5 U.S.C.§ 552(a)(6)(B). If you care to narrow the scope of your
request, please contact our office. We will make every effort to comply with your request in a
timely manner.

As it relates to your fee waiver request, I have reviewed your letter thoroughly and have
determined that you have not presented a convincing argument that you are entitled to a blanket
waiver offees.


The DBS FOIA Regulations,6 CFR § 5.1 l(k)(2), set forth six factors to examine in determining
whether the applicable legal standard for a fee waiver has been met. We will consider these
factors in our evaluation of your request for a fee waiver:
         Case: 24-2256          Document: 11          Page: 55       Filed: 09/13/2024




       (1) Whether the subject ofthe requested records concerns ^Hhe operations or activities of
        the government;"
       (2)Whether the disclosure is "likely to contribute" to an understanding of government
        operations or activities;
       (3)Whether disclosure ofthe requested information will contribute to the understanding
       ofthe public at large, as opposed to the individual understanding ofthe requestor or a
        narrow segment ofinterested persons;
       (4)Whether the contribution to public understanding ofgovernment operations or
       activities will be "significant;"
       (5) Whether the requester has a commercial interest that would be furthered by the
        requested disclosure; and
       (6)Whether the magnitude ofany identified commercial interest to the requestor is
        sufficiently large in comparison with the public interest in disclosure, that disclosure is
        primarily in the commercial interest ofthe requestor.

As a requester, you bear the burden under the FOIA ofshowing that the fee waiver requirements
have been met. Based on my review of your October 26,2015 letter and for the reasons stated
herein, I have determined that your fee waiver request is deficient because your request failed to
meet factors 3 and 4 set forth above. Since your request for a fee waiver has failed to satisfy
each ofthe required factors, I am denying your fee waiver request.

As it relates to your request for expedited treatment, your request is denied.

Under the DHS FOIA regulation, expedited processing ofa FOIA request is warranted ifthe
request involves "circumstances in which the lack ofexpedited treatment could reasonably be
expected to pose an imminent threat to the life or physical safety ofan individual,"6 C.F.R.§
5.5(d)(l)(i), or "an urgency to inform the public about an actual or alleged federal government
activity, if made by a person primarily engaged in disseminating information,"6 C.F.R. §
5.5(d)(l)(ii). Requesters that seek expedited processing must submit a statement explaining in
detail the basis for the request, and that statement must be certified by the requester to be true
and correct. 6 C.F.R.§ 5.5(d)(3).

Your request for expedited processing is denied because you do not qualify for either category.
You failed to demonstrate a particular urgency to inform the public about the government
activity involved in the request beyond the public^s right to know about government activity
generally. Your letter was conclusory in nature and did not present any facts to Justify a grant of
expedited processing under the applicable standards.

Provisions ofthe Act allow us to recover part ofthe cost ofcomplying with your request. We
shall charge you for records in accordance with the DHS Interim FOIA regulations as they apply
to non-commercial requestors. As a non-commercial requestor you will be charged 10-cents a
page for duplication, although the first 100 pages are free, as are the first two hours ofsearch
time, after which you will pay the per quarter-hour rate($4.00,$7.00,$10.25)ofthe searcher.



                                                                           www.dbs.gov
         Case: 24-2256         Document: 11         Page: 56       Filed: 09/13/2024




We will construe the submission of your request as an agreement to pay up to $25.00. You will
be contacted before any further fees are accrued.

If you deem the decision to deny your blanket fee waiver or expedited treatment of your request an
adverse determination, you may exercise your appeal rights. Should you wish to do so, you must
send your appeal and a copy of this letter within 60 days of receipt ofthis letter to: Associate
General Counsel(General Law), U.S. Department ofHomeland Security, Washington, DC 20528,
following the procedures outlined in Subpart A, Section 5.9, ofthe DHS Regulations. Your
envelope and letter should be marked ^'Freedom ofInformation Act Appeal.** Copies ofthe DHS
regulations are available at: www.dhs.gov/foia.

We have queried the appropriate office ofS&T for responsive records. Ifany responsive records
are located, they will be reviewed for determination of releasability. Please be assured that one of
the processors in our office will respond to your request as expeditiously as possible. We
appreciate your patience as we proceed with your request.

Your request has been assigned reference number 2016-STFO-00011. Please refer to this
identifier in any future correspondence and to check the status of your request at
httD://www.dhs.gov/foia-status. You may contact this office at stfoia@hq.dhs.gov or(202)254-
6342.


                                             Sincerely,



                                             Katrina Hagan
                                             FOIA Officer




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